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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


CYNTHIA PALACIOS, individually and
on behalf of all others similarly situated,
                                              Case No. 2:21-cv-11815-TGB-EAS

                   Plaintiff,                 Honorable Terrence G. Berg
                                              Mag. Judge Elizabeth A. Stafford
      v.

ANNIE’S PUBLISHING, LLC,

                   Defendant.



               PLAINTIFF’S RESPONSE IN OPPOSITION TO
           DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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                    STATEMENT OF ISSUES PRESENTED

       1.      Does the six-year limitation period found in M.C.L. § 600.5813 govern
Plaintiff’s statutory claim for violation of the Video Rental Privacy Act (“VRPA”) – a
statute that promulgates a cause of action never before recognized at common law and
which does not itself specify a limitation period?

             Plaintiff’s Answer: Yes.


       2.    Are the Complaint’s allegations that Defendant disclosed Plaintiff’s
personal reading information in violation of the VRPA sufficient to confer Plaintiff
with Article III standing to bring her VRPA claim in federal court, even where the
Complaint alleges no actual damages to Plaintiff as a result of Defendant’s statutory
violations?

             Plaintiff’s Answer: Yes.




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        CONTROLLING AND MOST IMPORTANT AUTHORITIES

   M.C.L. § 600.5813

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         Plaintiff Cynthia Palacios, individually and on behalf of all others similarly

situated, submits this response in opposition to the Motion to Dismiss (ECF No. 12

(the “Motion” or “Mot.”)) the First Amended Class Action Complaint (ECF No. 8 (the

“FAC”)) filed by Defendant Annie’s Publishing, LLC.

    I.          INTRODUCTION

         In this putative consumer class action, Plaintiff alleges that Defendant violated

Michigan’s Video Rental Privacy Act (“VRPA”) 1 by disclosing, without her consent,

information that identified her as (inter alia) a subscriber to Defendant’s Crochet!

magazine. On behalf of herself and others similarly situated, Plaintiff seeks to recover

$5,000, as provided by the VRPA, for each of Defendant’s statutory violations.

         Defendant moves to dismiss the Complaint as untimely under the three-year

limitation period set forth in Michigan Compiled Laws (“M.C.L.”) § 600.5805(2), or,


1
        The VRPA (occasionally referred to in the caselaw as the “Preservation of
Personal Privacy Act” or the “PPPA”) is found at H.B. 5331, 84th Leg. Reg. Sess.,
P.A. No. 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess.,
P.A. No. 206, § 1 (Mich. 1989). In May 2016, the Michigan legislature amended the
VRPA. See S.B. 490, 98th Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at
M.C.L. § 445.1711, et seq.). The May 2016 amendment to the VRPA, which became
effective on July 31, 2016, does not apply retroactively to claims that accrued prior to
its July 31, 2016 effective date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d
427, 439‒41 (S.D.N.Y. 2016) (holding that “the amendment to the VRPA does not
apply to Plaintiffs’ claims, and the Court will assess the sufficiency of those claims
under the law as it was when Plaintiffs’ claims accrued”) (citing Landgraf v. USI Film
Prods., 511 U.S. 244, 286 (1994)). Because the claims alleged herein accrued, and
thus vested, prior to the July 31, 2016 effective date of the amended version of the
VRPA, the pre-amendment version of the VRPA applies in this case. See Horton v.
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alternatively, for lack of Article III standing. The Motion is without merit. Both

grounds for dismissal are foreclosed by controlling precedent.

      First, as the Honorable Thomas K. Ludington of the Eastern District of

Michigan decided just a few weeks ago, “[a] six-year statute of limitations applies to

[VRPA] claims.” Pratt v. KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman

Group, Inc., --- F. Supp. 3d ---, 2022 WL 469075 (E.D. Mich. Feb. 15, 2022). After

carefully considering the same arguments made by Defendant here, and reviewing

decades worth of state and federal jurisprudence on this issue, Judge Ludington held,

pursuant to controlling Sixth Circuit precedent firmly rooted in decades of well-

established Michigan law, that a claim for violation of a Michigan statute that does not

itself specify a limitation period is governed by the six-year limitation period found in

M.C.L. § 600.5813 (rather than the three-year period found in M.C.L. § 600.5805(2)).

See Palmer Park Square, LLC v. Scottsdale Ins. Co., 878 F.3d 530, 539‒40 (6th Cir.

2017) (concluding that “the residual six-year statute of limitations in § 600.5813

applies to statutory causes of action, including those for civil fines”); see also DiPonio

Const. Co. v. Rosati Masonry Co., 631 N.W.2d 59, 66 (Mich. App. 2001) (“[W]e

conclude that a civil cause of action arising from a statutory violation is subject to the

six-year limitation period found in § 5813, if the statute itself does not provide a

limitation period.”). Thus, as Judge Ludington concluded in Pratt, a claim for


GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).
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violation of the VRPA—a statute that does not itself specify a limitation period—is

governed by the six-year period found in § 600.5813. This Court should adopt the

reasoning of Judge Ludington’s decision in Pratt and reach the same conclusion here.

         Second, as also explained by Judge Ludington in Pratt, the Sixth Circuit and

courts nationwide unanimously agree that a plaintiff who states a claim for relief

under the VRPA—as Plaintiff has done here (a point Defendant appears to concede)—

necessarily has Article III standing to pursue that claim in federal court. See Coulter-

Owens v. Time Inc., 695 F. App’x 117, 121 (6th Cir. 2017) (finding that alleged

violation of the VRPA gives rise to Article III standing). Simply put, “a properly

alleged PPPA claim confers Article III standing.” Pratt, 2022 WL 469075, at *8.

         Plaintiff timely filed suit, and she has Article III standing to pursue her claim in

this Court. The Motion should be denied.

   II.           FACTUAL ALLEGATIONS

         Defendant maintains a vast digital database comprised of its customers’

information—including their full names, titles of publications subscribed to, and home

addresses (collectively “Private Reading Information” or “PRI”), as well as myriad

other categories of individualized data and demographic information. FAC ¶ 41.

         Defendant discloses its customers’ Private Reading Information to data

aggregators and appenders, which then supplement that information with additional

sensitive private information about each Defendant customer, including his or her


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 gender. Id. Defendant then rents and/or exchanges its mailing lists—which include

 subscribers’ Private Reading Information identifying which individuals purchased

 subscriptions to particular magazines, and can include the sensitive information

 obtained from data aggregators and appenders—to other data aggregators and

 appenders, other consumer-facing businesses, non-profit organizations seeking to raise

 awareness and solicit donations, and to political organizations soliciting donations,

 votes, and volunteer efforts. Id. ¶ 42 (citing Ex. A to the FAC).

       At various times during the pre-July 30, 2016 time period, Defendant disclosed

 Plaintiff’s Private Reading Information, which identified her as a Crochet! magazine

 customer, in at least three ways. Id. ¶ 60. First, Defendant disclosed mailing lists

 containing Plaintiff’s Private Reading Information to data aggregators and data

 appenders, which then supplemented the mailing lists with additional sensitive

 information from their own databases, before sending the mailing lists back to

 Defendant. Id. ¶ 61. Second, Defendant disclosed mailing lists containing Plaintiff’s

 Private Reading Information to data cooperatives, who in turn gave Defendant access

 to their own mailing list databases. Id. ¶ 62. And third, Defendant rented and/or

 exchanged its mailing lists containing Plaintiff’s Private Reading Information—

 enhanced with additional information from data aggregators and appenders—to third

 parties, including other consumer-facing companies, direct-mail advertisers, and

 organizations soliciting monetary contributions, volunteer work, and votes. Id. ¶ 63.


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       By renting, exchanging, or otherwise disclosing the Private Reading

 Information of Plaintiff and its other Michigan-resident subscribers during the relevant

 pre-July 30, 2016 time period, Defendant violated the VRPA. Id. ¶ 3. Plaintiff seeks

 $5,000.00 for herself and each Class member pursuant to VRPA § 5(a) and costs and

 reasonable attorneys’ fees pursuant to VRPA § 5(b). Id. ¶ 73.

    III.       THE VRPA

       In 1988, Michigan’s legislature enacted the VRPA to protect “privacy with

 respect to the purchase, rental, or borrowing of certain materials,” by prohibiting

 companies from disclosing certain types of sensitive consumer information. H.B. No.

 5331, 1988 Mich. Legis. Serv. 378 (West).

       Subsection 2 of the VRPA states:

              [A] person, or an employee or agent of the person, engaged
              in the business of selling at retail, renting, or lending books
              or other written materials . . . shall not disclose to any
              person, other than the customer, a record or information
              concerning the purchase . . . of those materials by a
              customer that indicates the identity of the customer.

 VRPA § 2 (emphasis added).

       Michigan’s passage of the VRPA established as a matter of law “that a person’s

 choice in reading, music, and video entertainment is a private matter, and not a fit

 subject for consideration by gossipy publications, employers, clubs, or anyone else for

 that matter.” Privacy: Sales, Rentals of Videos, etc., House Legislative Analysis

 Section, H.B. No. 5331, Jan. 20, 1989. See FAC, Ex. B.

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    IV.         PERTINENT LIMITATION PERIODS

         “Pursuant to the Erie doctrine, state statutes of limitations must be applied by

 federal courts sitting in diversity.” Blaha v. A.H. Robins & Co., 708 F.2d 238, 239

 (6th Cir. 1983) (citation omitted).

         Defendant asserts that M.C.L. § 600.5805 sets forth the limitation period

 applicable to Plaintiff’s VRPA claims, which states that “[a] person shall not bring or

 maintain an action to recover damages for injuries to persons or property unless,

 after the claim first accrued to the plaintiff or to someone through whom the plaintiff

 claims, the action is commenced within the periods of time prescribed by this

 section.” M.C.L. § 600.5805(1) (emphasis added). Section 600.5805(2) states:

 “Except as otherwise provided in this section, the period of limitations is 3 years after

 the time of the death or injury for all actions to recover damages for the death of a

 person or for injury to a person or property.” M.C.L. § 600.5805(2).

         Plaintiff, however, asserts that her claim for violation of the VRPA (a statute

 that does not itself specify a limitation period) is governed by M.C.L. § 600.5813, not

 § 5805(2). Section 600.5813 states that “[a]ll other personal actions shall be

 commenced within the period of 6 years after the claims accrue and not afterwards

 unless a different period is stated in the statutes.” M.C.L. § 600.5813.

    V.          ARGUMENT

         Plaintiff filed suit within the applicable limitation period, and her claim is


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 justiciable in federal court under Article III. The Motion should be denied.

           A. Plaintiff’s Claim Is Timely

       Defendant’s primary argument for dismissal—that Plaintiff’s claim is barred by

 the three-year limitation period set forth in M.C.L. § 600.5805(2)—fails as a matter of

 law because controlling Sixth Circuit precedent, grounded on well-established

 Michigan law, holds that a claim for violation of a statute that does not itself provide a

 limitation period—such as the VRPA—is governed by the six-year limitation period

 set forth in M.C.L. § 600.5813. And in the FAC, Plaintiff specifically alleges facts

 showing that her claim accrued within the applicable six-year limitation period.

       In Palmer Park Square, LLC v. Scottsdale Ins. Co., the U.S. Court of Appeals

 for the Sixth Circuit recently held that claims arising from a statutory violation are

 subject to the six-year limitation period found in § 600.5813, so long as the statute

 serving as the basis for the violation does not itself contain a limitation period. Palmer

 Park, 878 F.3d at 539‒40 (concluding that the six-year limitations period provided by

 § 600.5813 applied to a claim for statutory penalty interest under § 500.2836(2)). 2

       In Pratt, Judge Ludington recognized the significance of the Sixth Circuit’s

 decision in Palmer Park, and correctly found that it controls on the question of


 2
        “When Michigan precedent does not expressly address which statute of
 limitations applies to a statutory cause of action, as in this case, Michigan courts look
 to ‘[f]ederal court authority.’” Pratt, 2022 WL 469075, at *6 (quoting Glowacki v.
 Motor Wheel Corp., 241 N.W.2d 240, 245‒46 (Mich. App. 1976)).

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 whether a VRPA claim is governed by the six-year limitations period found in §

 600.5813 or the three-year limitation period found in M.C.L. § 600.5805(2). As Judge

 Ludington explained, “[t]he long and the short of the legal analysis is that (1)

 Michigan law governs this question, (2) no controlling Michigan authority is directly

 on point, (3) Michigan courts look to federal law in the absence of controlling

 Michigan law, (4) the Sixth Circuit has released a published opinion interpreting

 Michigan law to resolve this issue, and (5) published Sixth Circuit precedent is

 controlling authority for this Court.” Pratt, --- F. Supp. 3d ---, 2022 WL 469075, at *5

 (citing Palmer Park, 878 F.3d at 539‒40). Thus, applying the holding of Palmer Park

 (and addressing the numerous decisions to which Palmer Park cites), Judge Ludington

 correctly and unequivocally held that “[a] six-year statute of limitations applies to

 PPPA claims.” Id.; see also id. at *7 (“The Sixth Circuit carefully analyzed Michigan

 precedent to hold that a six-year statute of limitations applies to statutory causes of

 action, like the PPPA. That published Sixth Circuit precedent controls this Court.”)

 (collecting cases). This Court must now reach the same conclusion.

       As the court recognized in Pratt, the Sixth Circuit’s reasoning in Palmer Park

 relies on, and is firmly supported by, the decisions of the Michigan Court of Appeals

 in DiPonio and Dep’t of Envtl. Quality v. Gomez, 896 N.W.2d 39 (Mich. App. 2016).

 In DiPonio, the Michigan Court of Appeals explicitly held “that a civil cause of action

 arising from a statutory violation is subject to the six-year limitation period found in §


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 5813, if the statute itself does not provide a limitation period.” 631 N.W.2d at 66; see

 also Palmer Park, 878 F.3d at 540 (noting that the court in DiPonio “contrasted

 actions for statutory violations with actions to redress injuries resulting from

 traditional torts, noting that the limitations periods set out in § 600.5805 apply to the

 latter”). The Michigan Court of Appeals’ decision in Gomez likewise applied §

 600.5813’s catch-all, six-year limitation period to a statutory cause of action. Gomez,

 896 N.W.2d at 50 (citing DiPonio, 631 N.W.2d at 66).

        The decisions in Pratt, Palmer Park, DiPonio, and Gomez are each firmly

 supported by the reasoning of the Michigan Supreme Court in Citizens for Pretrial

 Just. v. Goldfarb, 327 N.W.2d 910 (Mich. 1982), an opinion unequivocally holding

 that the three-year limitation period found in § 600.5805(2) “applies to traditional,

 primarily common-law torts,” and that “the residual six-year statute of limitations

 governing all other personal actions” applies to any claim that “is not a traditional

 tort.” Id. at 915. 3

        The overwhelming majority of Michigan’s state and federal courts are in

 accord, and correctly hold, consistent with Goldfarb, DiPonio, Gomez, and Palmer

 Park, that statutory claims (for which no limitation period is specified in the statute

 itself) are subject to the six-year period found in § 600.5813 and that only common-

 law tort claims are subject to the three-year period found in § 600.5805(2). See Nat’l


 3
        At the time Goldfarb was decided, M.C.L. § 600.5805(2) was codified at §
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 Sand, Inc., v. Nagel Const., Inc., 451 N.W.2d 618, 622 n.7 (Mich. App. 1990)

 (surveying Michigan authority on the applicability of § 600.5813 and noting that “the

 common theme shared by” the pertinent cases is that the six-year limitation period

 found in § 5813 applies where “the right to recovery arose from a statute”); Estes v.

 Idea Eng’g & Fabrications, Inc., 649 N.W.2d 84, 93 (Mich. App. 2002) (holding that

 “the catch-all six-year period of limitation set forth in M.C.L. § 600.5813 applies” to a

 § 489 claim “because § 489 creates a separate cause of action and does not contain its

 own statute of limitations,” and explaining that, even though a § 489 “statutory cause

 of action is . . . similar to the common law shareholder equitable action for

 dissolution,” it “is independent of that traditionally limited and uncertain cause of

 action” and thus not subject to the three-year limitation period found in §

 600.5805(2)); Olschefski v. Northville Pub. Sch., 2002 WL 1482610, at *3 (Mich. Ct.

 App. July 9, 2002) (finding that, in light of the decisions in Goldfarb, Nat’l Sand,

 DiPonio, and Estes, “the six-year statute of limitations under M.C.L. § 600.5813

 applies” to plaintiffs’ claims, which allege “violations of the Revised School Code,

 rather than traditional common-law torts,” and concluding that “the trial court erred in

 applying the three-year statute of limitations”); Bowman v. Greene, 2013 WL

 5925995, at *6 (Mich. Ct. App. Nov. 5, 2013) (citing to DiPonio, and concluding that

 a claim for violation of the Seller’s Disclosure Act is governed by § 600.5813’s six-


 5805(7). It has since been moved to § 5805(2), but otherwise remains the same.
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 year limitation period); Ford Motor Co. v. Michigan Consol. Gas Co., 2009 WL

 3190418, at *16 (E.D. Mich. Sept. 29, 2009) (“This is the exact situation at issue here:

 a statutory cause of action that does not include a statute of limitations. The court will

 therefore apply the limitations period found in § 5813.”). Thus, because Plaintiff

 alleges a claim for violation of the VRPA, a statute that does not itself specify a

 limitation period, Plaintiff’s claim is governed by the six-year limitation period found

 in § 5813.

       Even the decisions Defendant cites recognize the critical distinction between

 common-law claims and statutory claims for purposes of determining the applicable

 limitation period. See, e.g., McCree v. Cont’l Mgmt., LLC, 2021 WL 1050115, at *7

 (Mich. Ct. App. Mar. 18, 2021) (noting that § 600.5805(2) only applies to a plaintiff’s

 claims for a defendant’s breaches of “common-law duties”); Mot. at 8, PageID.1095

 (collecting decisions in which courts correctly found the three-year limitation period

 found in § 600.5805(2) applicable to common-law tort claims).

       Defendant nonetheless argues that, where a statutory claim “sounds in the

 traditional tort of invasion of privacy” (Mot. at 10, PageID.1097), it is subject to the

 three-year limitation period found in § 600.5805(2), and cites to the decisions in,

 among other cases, Palmer Park, Nat’l Sand, and DiPonio. (See Mot. at 14-18,

 PageID.1101-1105). The argument is without merit. Palmer Park, Nat’l Sand, and

 DiPonio each clearly holds that the six-year limitation period found in § 600.5813


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 applies, without exception, to any claim for violation of a statute that does not itself

 specify a limitation period, and that only non-statutory claims for injury to persons or

 property that have been traditionally recognized at common law are subject to the

 three-year period found in § 600.5805(2). See Palmer Park, 878 F.3d 530 at 539‒40

 (holding that § 600.5813’s “catch-all” six-year statute of limitations applies to

 statutory penalty interest claim which does not otherwise provide a statute of

 limitations rejected argument that three-year statute under § 600.5805(2)); Nat’l Sand,

 451 N.W.2d at 623 (“[I]f plaintiff pled malpractice or some other traditional,

 common-law tort, then we must apply § 5805. Otherwise, § 5813 would be

 appropriate.”); DiPonio, 631 N.W.2d at 66 (holding that “that a civil cause of action

 arising from a statutory violation is subject to the six-year limitation period found in §

 5813, if the statute itself does not provide a limitation period”); see also, e.g., id.

 (where the “plaintiff’s civil cause of action for violation of the builders’ trust fund act

 arises from a statutory violation,” the “six-year limitation period found in § 5813

 governs that cause of action”).

        Predictably, Defendant also argues that Judge Ludington’s well-reasoned

 opinion in Pratt is incorrect because it “misread dicta” in Palmer Park. (See Mot. at

 18-19, PageID.1105-1106). Indeed, Defendant goes so far as to say Pratt “could not

 possibly be correct” because the Michigan Supreme Court and the Sixth Circuit

 applied the three-year statute of limitations in Section 5805 to statutory actions in


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 other contexts. (Id. at PageID.1106). But as explained infra at footnote 4, those cases

 involved statutes which subsumed and preempted long-standing common law claims.

 See, e.g., Garg v. Macomb Cty. Cmty. Mental Health Servs., 696 N.W.2d 646, 659

 (Mich. 2005) (statute codifying common law employment discrimination); Dabish v.

 McMahon, 818 F. App’x 423 (6th Cir. 2020) (statute codifying common battery and

 assault while criminalizing when motivated by ethnic bias). Notably, the defendant in

 Pratt made the same arguments that Defendant makes here in favor of the three-year

 limitation period, and in fact cited to the same legal authorities. See Pratt motion to

 dismiss, 1:21-cv-11404 PageID.590-591 (making same arguments and citing to Garg

 and other cases). With the benefit of full adversarial briefing, Judge Ludington found

 no merit in these arguments and denied the defendant’s motion to dismiss.

       In other words, the question of whether to apply the three-year period found in

 § 600.5805(2) or the six-year period found in § 600.5813 only arises where the claim

 at issue—unlike the VRPA claim here—is a common-law claim, not a statutory claim.

 See, e.g., Nat’l Sand, 451 N.W.2d at 653 (in considering whether three-year period

 provided by § 600.5805(2) or six-year period provided by § 600.5813 applies to a

 non-statutory malpractice claim, “we must determine whether the common law

 recognized a malpractice claim against engineers”). And where, as here, the claim is

 for violation of a statute that does not provide its own limitation period, controlling

 Sixth Circuit precedent (grounded in well-established Michigan law) requires


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 application of the six-year limitation period found in M.C.L. § 600.5813. See Palmer

 Park, 878 F.3d at 539‒40; Goldfarb, 327 N.W.2d at 915; DiPonio, 631 N.W.2d at 65‒

 66; Gomez, 896 N.W.2d at 50‒51. The analysis ends there.

       But even if statutory claims could conceivably be subject to the three-year

 limitation period found in § 600.5805(2) (and that is not so), none of the decisions

 cited in the Motion (nor any other decision of which Plaintiff is aware) hold that §

 600.5805(2) applies to a claim that “sounds” in a “traditional common-law tort” (Mot.

 at 10, PageID.1097)—rather, even under Defendant’s erroneous interpretation of the

 relevant authorities in the Motion, the cause of action at issue must actually be a claim

 traditionally recognized at common law (not merely “resemble” or be an “analogue”

 to a claim at common law). 4 See, e.g., Goldfarb, 327 N.W.2d at 915 (finding § 5805


 4
         Defendant cites a string of inapposite decisions, such as those concerning
 claims for violation of Michigan employment statutes (e.g., Garg, Magee, and Major),
 that it says further support the ill-founded idea that the three-year period set forth in §
 600.5805(2) applies to any statutory claim that “sound” in a tort traditionally
 recognized at common law. See Mot. at 15‒17, PageID.1102‒1104. However, as the
 Sixth Circuit has recognized, the enactment of the statutory causes of action at issue in
 Garg, Magee, and Major preempted a body of common law that had traditionally
 given rise to the same claims. See White v. Elec. Data Sys. Corp., 974 F.2d 1339 (6th
 Cir. 1992) (applying a three-year statute of limitations to statutory employment
 discrimination claim noting that the Elliot-Larsen Civil Rights Act of 1977 subsumed
 Michigan’s common law claim for employment discrimination). Thus, the statute at
 issue in Garg and Magee directly mirrored a claim traditionally recognized at
 common law (and in fact codified that common-law claim). Likewise, in Marks,
 which the Motion also cites in support of applying the three-year limitation period
 (Mot. at 16, PageID.1103), the nuisance statute at issue there directly mirrored, and
 had thus codified, Michigan’s common law nuisance claim. Similarly, the ethnic
 intimidation statute at issue in Dabish v. McMahon, 818 Fed. Appx. 423 (6th Cir.
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 applicable only to “traditional, primarily common-law, torts,” and concluding that

 because the injury underlying the plaintiff’s non-statutory claim was not the result of a

 traditional tort, it must fall under the residual six-year period of limitation contained in

 § 5813). Indeed, state and federal courts in Michigan have already thoroughly

 considered and soundly rejected the same “common law analogue” argument

 Defendant makes here. For example, in Estes, the court held that “the catch-all six-

 year period of limitation set forth in M.C.L. § 600.5813 applie[d]” to a statutory claim

 notwithstanding its similarity to a traditionally recognized common-law claim. Estes,

 649 N.W.2d at 93. As another example, in Olschefski, the Michigan Court of Appeals

 concluded that “the trial court erred in applying the three-year statute of limitations”

 because “plaintiff’s claims in the [] case ar[o]se from alleged violations of [a statute],

 rather than traditional common-law torts.” Olschefski, 2002 WL 1482610, at *3. And


 2020) (Mot. at 16, PageID.1103) provides a civil cause of action for victims of battery
 and assault (traditional common law torts) while simultaneously criminalizing these
 tortious acts when motivated by bias. See M.C.L. §750.147(b)(1)(A). Here, by
 contrast, no common-law tort claim has ever existed in Michigan that mirrors the
 VRPA, and indeed the VRPA is not a codification of any claim that has ever been
 recognized at common law.
        Defendant relies on other outlier cases where courts have applied a three-year
 limitations period to a statutory claim. Rather than distill any meaningful rule, these
 decisions only reflect that there was earlier confusion in this area law. See e.g.,
 Tillman v. Great Lakes Truck Ctr., Inc., 742 N.W.2d 622, 623 (Mich. App. 2007)
 (recognizing that Michigan courts have not consistently resolved whether a three or
 six-year limitations period applies). However, in light of Palmer Park, Goldfarb,
 DiPonio, and Gomez, among numerous other decisions, it is clear beyond dispute that
 VRPA claims are subject to a six-year statute of limitations.

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 in this case, it is beyond dispute that “the common law” has never “recognized” a

 claim for the nonconsensual disclosure of records concerning a person’s purchases of

 written material, sounds recordings, or video recordings at retail—the conduct that

 gives rise to a VRPA claim—which is exactly why the Michigan legislature enacted

 the statute when it became determined to prevent such disclosures from occurring. See

 FAC, Ex. B (describing the need to enact the VRPA to provide privacy rights that are

 not secured at common law); Nat’l Sand, 451 N.W.2d at 623‒24. 5

        As another court recently explained, “[t]he mere fact that Plaintiff’s allegations

 may be, in some manner, shoe-horned into a common-law tort cannot control in light

 of clear direction that where ‘plaintiff’s civil cause of action [is] for . . . a statutory

 violation, [the court should apply] the six-year limitation period found in § 5813.”

 Purnell v. Arrow Fin. Servs., LLC, 2009 WL 1508340, at *2 (E.D. Mich. May 29,

 2009) (citing DiPonio, 631 N.W.2d at 66) (alterations in original). No matter how you

 slice it, § 600.5805(2)’s three-year limitation period cannot possibly apply to

 Plaintiff’s VRPA claim. See Purnell, 2009 WL 1508340, at *2 (finding, “as a matter

 of law, that § 5813 defines the proper statute of limitations for Plaintiff’s state



 5
       Defendant’s assertion to the contrary in the Motion—that the VRPA codified a
 claim for a violation of a traditional, common law privacy right (e.g., Mot. at 12,
 PageID.1099)—is simply not true; the right of Michigan’s citizens to be free from
 nonconsensual disclosures of their Private Reading Information to third parties, as
 conferred by the VRPA, has never been recognized at common law and is thus in no
 sense a “traditional, common law privacy right.”
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 [statutory] law claim[] to be six years”). 6

       Finally, even if the three-year limitation period provided by § 600.5805(2) were

 somehow capable of applying to a statutory claim that has never been recognized as a

 tort at common law – and that is not so, for all the reasons outlined above – the three-

 year limitation period found in § 600.5805(2) would still not apply here because this is

 not “an action to recover damages for injuries to persons or property,” M.C.L. §

 600.5805(1) – which is the only type of action § 600.5805(2) is capable of governing.

 Indeed, Plaintiff’s VRPA claim does not arise from any “personal injury” or seek to

 recover any actual “damages” for any such “injuries” (and in fact neither personal

 injury nor actual damages are elements of a VRPA claim). Instead, Plaintiff’s claim


 6
        Defendant’s attempts to replace the “traditional, common-law tort” standard for
 applying the three-year limitation period set forth in § 600.5805(2) (as articulated in
 the cases cited in the Motion) with its preferred, self-serving standard (requiring
 merely that “a claim sounds in [a] traditional” common law “tort” (Mot. at 10,
 PageID.1097)) appear intentionally aimed at conflating the statute of limitations issue
 with the Article III standing issue in an effort to muddy the waters. Indeed, well-
 established Supreme Court precedent instructs courts, in determining the existence of
 an Article III injury-in-fact, to consider whether the alleged injury has a “close
 relationship to” a harm recognized at common law or, in other words, whether the
 statutory claim has a “common-law analogue.” See Spokeo, Inc. v. Robins, 578 U.S.
 330, 341 (2016), as revised (May 24, 2016); TransUnion LLC v. Ramirez, 141 S. Ct.
 2190, 2197 (2021). But this analysis is totally irrelevant to the statute of limitations
 issue under Michigan law because, as previously discussed, a claim that merely
 “sounds” in a common-law claim is not the same thing as a claim that is a common-
 law claim. Thus, even where a plaintiff is found to have Article III standing to pursue
 a statutory violation based on the statute’s close resemblance to a claim at common
 law, that statutory claim is nonetheless subject to the six-year limitation period set
 forth in § 600.5813, as discussed further in the following section of this brief (see,
 infra, Section B).
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 arises from Defendant’s violations of her statutorily-conferred right to be free from

 unauthorized disclosures of her PRI, and seeks to recover the statutorily authorized

 sum of $5,000 for each of Defendant’s statutory violations (in lieu of any “actual

 damages” resulting therefrom, as the statute alternatively provides).

       Thus, as the plain statutory language makes clear, Plaintiff’s VRPA claim

 accrued—and the applicable limitation period commenced—when Defendant

 disclosed Plaintiff’s PRI to another person in violation of the statute, period (see

 VRPA § 2)—not from any injuries Plaintiff suffered as a result of those statutory

 violations. See Deacon v. Pandora Media, Inc., 901 F. Supp. 2d 1166 (N.D. Cal.

 2012) (“As an initial matter, the VRPA does not explicitly impose an actual injury

 requirement. Rather, the statute’s civil remedy provision allows for recovery based on

 a showing of actual damages or statutory damages.”); Kinder v. Meredith Corp., 2014

 WL 4209575, at *3‒4 (E.D. Mich. Aug. 26, 2014) (finding that the plaintiff “properly

 allege[d] a violation of the VRPA” based solely on allegations that the defendant

 “violated her rights pursuant to the VRPA by improperly disclosing and selling her

 personal information,” and explaining that “[t]he VRPA grants standing to plaintiffs

 who suffer a statutory violation and does not require actual damages”); Green v.

 Brennan, 578 U.S. 547, 554 (2016) (noting that a “limitations period commences

 when the plaintiff has a complete and present cause of action”).

       Accordingly, because this action does not arise from personal injury or seek

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 actual damages resulting from any such injury, the three-year limitation period found

 in § 600.5805(1)-(2) cannot apply to Plaintiff’s claim under even Defendant’s strained

 interpretation of its cited authorities. See, e.g., Schenburn v. Lehner Associates, Inc.,

 177 N.W.2d 699, 702 (Mich. App. 1970) (applying six-year catch-all limitations

 period where plaintiff’s claim was not based on actual damage to his property or

 physical injury to his person, but rather based on damages for injury to his financial

 expectations); Tel-Twelve Shopping Ctr. v. Sterling Garrett Const. Co., 191 N.W.2d

 484, 486 (Mich. App. 1971). 7

       Plaintiff’s claim is timely pursuant to § 600.5813. The FAC alleges VRPA

 violations based on Defendant’s nonconsensual disclosures of Plaintiff’s and the

 putative class’s PRI between August 7, 2015 and July 30, 2016. 8 (See, e.g., Compl. ¶¶


 7
        In the unlikely event the Court finds the six-year versus three-year statute of
 limitations question a “close call,” the Court should err on the side of caution and
 apply the longer period. The Michigan Supreme Court has instructed that “[i]n
 determining whether the statute has run on plaintiff’s cause of action he is entitled to
 the benefit of the allegations of a cause of action, if any, against which the statute has
 not run.” Striker v. Martindale, 127 N.W.2d 306, 307 (Mich. 1964). And there is a
 clear preference under both Michigan and federal law to resolve disputes on their
 merits. See, e.g., Tisbury v. Armstrong, 486 N.W.2d 51, 52 (Mich. App. 1991)
 (“Given the policy of this state favoring the meritorious determination of issues . . . we
 do not believe that the drastic remedy of summary disposition is appropriate in this
 case.”); Kanuszewski v. Michigan Dep’t of Health and Human Servs., 927 F.3d 396,
 406 n.4 (6th Cir. 2019) (“[T]he Federal Rules of Civil Procedure evidence a clear
 preference to resolve disputes on their merits.”) (quotations omitted). Dismissing this
 case on what is—at best—a dubious statute of limitations defense is not consistent
 with those directives.
 8
        Six years is 2,190 days. Six years from August 7, 2015, is August 5, 2021. See
 Pratt, 2022 WL 469075, at *7 n.6 (computing the same way).
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 3, 60‒63.) Thus, Plaintiff’s VRPA claim accrued, at the earliest, within six years of

 the filing of this action on August 5, 2021, and the Motion should be denied. 9


 9
        Grasping at straws, Defendant argues that statements made by Plaintiff’s
 counsel concerning the statute of limitations in prior VRPA cases on behalf of other
 clients, in completely different circumstances, somehow prove that the limitations
 period for a VRPA claim is three years. The argument is entirely without merit, as
 well as improper. As Defendant’s counsel is surely aware, an attorney’s arguments on
 a client’s behalf are never evidence, see United States v. Lopez, 590 F.3d 1238, 1256
 (11th Cir. 2009) (“[S]tatements and arguments of counsel are not evidence.”); Tang v.
 I.N.S., 223 F.3d 713, 720 (8th Cir. 2000), and obviously cannot be imputed against
 another client of the same attorney in a different proceeding, even where the
 arguments made on behalf of one client are inconsistent with those made on behalf of
 another client. See, e.g., Walker v. Ward, 934 F. Supp. 1286, 1290‒91 (N.D. Okla.
 1996) (“The Court declines to construe arguments of counsel in an unrelated case to
 be an admission by the State . . . [T]he arguments of counsel in Maynard are irrelevant
 to the present inquiry.”); Bill Rivers Trailers, Inc. v. Thermo King Corp., 478 F.2d
 1243, 1246 (C.C.P.A. 1973) (“[A]ppellee’s attorney has sought to bring to our
 attention that appellant’s attorney has made arguments in another forum on another
 case inconsistent with those made here. Assuming this to be true, we wish to point out
 that this is totally irrelevant to this case and played no part in our decision.”); Freeman
 v. Potter, 2006 WL 2631722, at *3 n.2 (W.D. Va. Sept. 13, 2006) (“Counsel can
 pursue any reasonable legal basis for relief, and merely the fact that in a previous,
 unrelated case counsel’s pursuit of relief on that basis was unsuccessful does not
 render subsequent attempts to obtain relief on the same basis, under different
 circumstances, wasteful.”); RCRV Inc. v. J L J Inc., 2013 WL 12133691, at *12 (C.D.
 Cal. Jan. 30, 2013) (“[C]iting opposing counsel’s arguments in an unrelated case is not
 particularly persuasive.”). The Court should reject Defendant’s attempt to weaponize
 counsel’s arguments on behalf of their clients in other matters against their client in
 this totally unrelated matter.
        But to briefly respond to the aspersion, undersigned counsel notes that the
 limitation period governing a VRPA claim was not a material issue in any of the prior
 matters cited in the Motion because the claims in those cases were timely under even a
 three-year limitation period. It was not until after each of those earlier matters had
 concluded that undersigned counsel was retained by additional clients (including the
 Plaintiff in this case), learned of and reviewed the Sixth Circuit’s decision in Palmer
 Park, and proceeded to dig deeper into the issue, ultimately realizing that VRPA
 claims are actually governed by the six-year limitation period found in § 600.5813
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           B. Plaintiff Has Article III Standing

       Presumably recognizing the uphill battle it faces on the statute of limitations

 front, Defendant also argues that Plaintiff lacks Article III standing to bring her VRPA

 claim in federal court. But this argument is also foreclosed by controlling precedent. It

 is well established in the Sixth Circuit (and nationwide) that a statutory violation of

 the VRPA, in and of itself, works concrete, particularized harm capable of satisfying

 the injury-in-fact prong of Article III.

       To establish Article III standing, a plaintiff must allege an “irreducible

 constitutional minimum of an injury-in-fact.” Lujan v. Defenders of Wildlife, 594 U.S.

 555, 560 (1992). “Injury in fact is a low threshold.” See Ross v. Bank of Am., N.A.,

 524 F.3d 217, 222 (2d Cir. 2008). It “is not Mount Everest.” Danvers Motor Co. v.

 Ford Motor Co., 432 F.3d 286, 294 (3d Cir. 2005) (Alito, J.). The Supreme Court has

 held that “[t]he injury required by Article III can exist solely by virtue of statutes


 (not the three-year period found in § 600.5805(2) that the plaintiffs’ bar had uniformly
 misapplied in VRPA cases for the better part of the preceding decade). Moreover, the
 Sixth Circuit’s decision in Palmer Park post-dates the briefing and decisions in the
 Edwards and Boelter actions referenced in the Motion.
        Thus, in Pratt, Judge Ludington found no significance in the fact that a three-
 year limitation period was applied in prior VRPA matters in which Plaintiff’s counsel
 was involved. As he explained, “those opinions assumed that the three-year statute of
 limitations applied because the parties in those cases did not contest the issue. Indeed,
 at that time, unlike now, there was no shorter statute of limitations that a defendant
 might have raised as an affirmative defense.” Pratt, 2022 WL 469075, at *6 (citations
 omitted). Moreover, “those courts’ opinions, like the Opinion of this Court, are not
 dispositive on issues of Michigan law,” and they “are from neither the Supreme Court
 not a circuit court of appeals.” Id. (citations omitted). “As such, they do not ‘warrant’
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 creating legal rights, the invasion of which creates standing.” Warth v. Seldin, 422

 U.S. 490, 500 (1975).

       Article III’s standing requirement is readily satisfied here. Pursuant to Sixth

 Circuit precedent, a plaintiff alleging a claim for violation of the VRPA has Article III

 standing to pursue that claim in federal court because a violation of the VRPA

 necessarily results in the nonconsensual dissemination of information reflecting a

 plaintiff’s personal reading choices—acutely invading his or her statutorily protected

 right to privacy in such matters and thus inflicting harm in a concrete and

 particularized (albeit an intangible) way, easily satisfying the injury-in-fact

 requirement. See Coulter-Owens, 695 F. App’x at 121 (“In short, given that the VRPA

 contains an express private right to sue, it confers statutory standing on a person

 whose information was disclosed in violation of it. Moreover, the disclosure of that

 information is a cognizable injury in fact for purposes of Article III standing.”). Thus,

 every federal district court to have considered the question has concluded that a

 plaintiff who adequately alleges a violation of the VRPA necessarily has Article III

 standing. See Kinder, 2014 WL 4209575, at *4 (finding Article III standing existed

 where plaintiff alleged bare statutory violation of the VRPA, explaining that “[t]he

 VRPA grants standing to plaintiffs who suffer a statutory violation and does not

 require actual damages”); Boelter, 269 F. Supp. 3d 172, 185 (S.D.N.Y. 2017)


 anything in this Court.” Id. (citation omitted).
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 (“[E]very court to consider the issue of standing under the [PP]PA has concluded that

 such a violation constitutes a concrete injury in and of itself.”); Halaburda v. Bauer

 Pub. Co., 2013 WL 4012827, at *3‒5 (E.D. Mich. Aug. 6, 2013) (disclosure of

 person’s information in violation of the VRPA is a cognizable injury-in-fact and

 confers Article III standing); Perlin v. Time Inc., 237 F. Supp. 3d at 627‒28 (E.D.

 Mich. 2017) (same).

       The Supreme Court’s recent decision in TransUnion LLC v. Ramirez, 141 S. Ct.

 2190 (2021) does not compel a different conclusion. In TransUnion, the Supreme

 Court considered whether two groups of class members asserting claims under the

 Fair Credit Reporting Act suffered a concrete injury in fact under Article III. Id. at

 2208‒13. The first group of class members had a misleading credit report

 disseminated to a third party. Id. at 2208‒09. The second group merely had a

 misleading remark on their credit files, but those files were not disseminated to a third

 party. Id. at 2209. The Supreme Court held that the first group—those who had a

 misleading credit report disseminated to a third party—had suffered a concrete injury

 in fact under Article III. Id. (“In short, the 1,853 class members whose reports were

 disseminated to third parties suffered a concrete injury in fact under Article III.”).

 Here, likewise, Plaintiff alleges that her Private Reading Information was disclosed to

 third parties without her consent. See Compl. ¶¶ 1‒2, 9. Thus, TransUnion further

 confirms Plaintiff’s Article III standing.


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       As previously mentioned (see supra, Section A, at 17 n.6), Defendant

 intentionally conflates a personal injury giving rise to an action for “damages”—

 which, in certain cases (not this one), triggers the limitation period provided in §

 600.5805(1)‒(2)—with the “injury-in-fact” required for Plaintiff’s dispute to be

 justiciable in federal court under Article III. But a harm sufficient to satisfy Article

 III’s injury-in-fact requirement is not synonymous with the “injury to a person”

 necessary to trigger the limitation period set forth in § 600.5805(2). So while

 Plaintiff’s VRPA claim does not arise from a personal injury or any actual damages,

 as explained above, there can be no dispute that Defendant’s violation of the VRPA

 necessarily violated Plaintiff’s statutorily conferred right to privacy in her reading

 habits—an intangible harm that presents ample constitutional mooring for Article III

 purposes. See Kinder, 2014 WL 4209575, at *2 (rejecting defendant’s argument that

 “a statutory violation of VRPA, without actual damages, is insufficient to confer

 standing,” noting that “every single court to consider this interpretation has rejected

 [defendant’s] argument”). Simply put: Plaintiff is plainly capable of having Article III

 standing to bring her VRPA claim and invoking the six-year limitation period

 applicable to such a claim.

       Indeed, just a few weeks ago in Pratt, Judge Ludington recognized that the

 defendant was attempting to “conflate a personal injury giving rise to an action for

 ‘damages’ with the ‘injury in fact’ required for [the] [p]laintiffs’ dispute to be


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 justiciable in federal court,” and flatly rejected the argument as a “straw man.” See

 Pratt, 2022 WL 469075, at *8‒9. As the court explained in Pratt, “600.5813 has no

 effect on Article III standing or jurisdiction,” and “a statutory cause of action does not

 lack Article III standing simply because [M.C.L] 600.5813 applies to it.” Id. at *8.

 Moreover, citing to Coulter-Owens and the other legion of authority cited above in

 this brief, the court held that “it is well established that a properly alleged PPPA claim

 confers Article III standing.” Id. Finally, the court found that “Defendant’s reliance on

 TransUnion[] is misplaced,” and explained that TransUnion in fact only “reinforces”

 that a VRPA plaintiff has Article III standing. Id. at *9.

       Plaintiff has Article III standing, and the Motion should be denied.

    VI.       CONCLUSION

       For the foregoing reasons, the Motion should be denied in its entirety.

 Dated: March 24, 2022                    Respectfully submitted,

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                          CERTIFICATE OF SERVICE


       I hereby certify that on March 24, 2022, I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel of

 record authorized to receive such filings.



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